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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


TASHA ROYSTER,

      Plaintiff,                          Case No.: 4:19-cv-517

v.

LARRY ROBINSON, in his official capacity
as PRESIDENT, FLORIDA A&M UNIVERSITY;
KELVIN LAWSON, in his official capacity as
CHAIRMAN, FLORIDA A&M UNIVERSITY
BOARD OF TRUSTEES; ELMIRA MANGUM,
in her official capacity; and JIMMY MILLER,
in his individual capacity,

     Defendants.
___________________________________________/

                   DEFENDANTS’ NOTICE OF REMOVAL

      Defendants, LARRY ROBINSON, in his official capacity as

PRESIDENT, FLORIDA A&M UNIVERSITY and KELVIN LAWSON, in

his official capacity as CHAIRMAN, FLORIDA A&M UNIVERSITY

BOARD OF TRUSTEES, pursuant to 28 U.S.C. §§ 1331, 1441, 1443,

1446, and N.D. Fla. Loc. R. 7.2, hereby file this Notice of Removal of an

action pending in the Circuit Court of the Second Judicial Circuit, in and for

Leon County, Florida, to the United States District Court, Northern District

of Florida, Tallahassee Division and, in support hereof states as follows:
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     1.    Defendants desire to exercise their rights under the provisions

of 28 U.S.C. § 1331, et seq., to remove this action from the Second Judicial

Circuit in and for Leon County, Florida, where it is now pending under the

name and style of: Tasha Royster v. Larry Robinson, in his official capacity

as President, Florida A&M University; Kelvin Lawson, in his official capacity

as Chairman, Florida A&M University Board of Trustees; Elmira Mangum,

in her official capacity; and Jimmy Miller, in his individual capacity, Case

No. 2019-CA-001817 (hereinafter referred to as the “Circuit Court Action”).

     2.    The Complaint filed by Plaintiff on July 29, 2019, and served on

the Defendants on October 11, 2019, contains two (2) counts as follows:

     Count I:    First Amendment Retaliation against President
                 Robinson and Lawson
                 (42 U.S.C. §1983)
     Count II:   First Amendment Retaliation against Mangum and
                 Miller
                 (42 U.S.C. §1983)

     3.    This Court has federal question jurisdiction over all claims in

Plaintiff’s Complaint since they are brought pursuant to 42 U.S.C. §1983.

     4.    Pursuant to 28 U.S.C. § 1446(a), copies of the Summons and

Complaint as well as all other process, pleadings, and orders on file in the

Circuit Court Action to date are attached to this Notice of Removal as

“Exhibit 1.” To the undersigned’s knowledge, no other papers or pleadings

have been filed in the Circuit Court Action other than those attached hereto.
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      5.    In accordance with the requirements of             28 U.S.C. §

1446(b)(2)(B), this Notice of Removal is filed within 30 days of the

Defendants’ receipt of the initial pleading through service of the Summons

and Complaint.

      6.    All defendants that have been properly joined and served

consent to removal under 28 U.S.C § 1441(b)(2)(A).

      7.    Venue in this District and Division is proper for purposes of

removal under 28 U.S.C. § 1441(a), because this District and Division

embrace the place in which the removed action was filed and is pending –

Leon County, Florida.

      8.    Pursuant to 28 U.S.C. § 1446(d), written and electronic notice

of filing this Notice of Removal will be served upon Plaintiff’s counsel, Marie

A. Mattox. A true copy of this Notice of Removal will also be filed with the

Clerk of the Circuit Court of the Second Judicial Circuit in and for Leon

County, Florida, as required by law.

           Removal Based on Federal Question Jurisdiction

      9.    Unless specifically prohibited by an act of Congress, “any civil

action brought in a State court of which the district courts of the United

States have original jurisdiction, may be removed by the defendant or the

defendants, to the district court of the United States for the district and


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division embracing the place where such action is pending.” 28 U.S.C. §

1441(a). This Court possesses original jurisdiction over this civil action,

because it involves a federal question under 28 U.S.C. § 1331. More

specifically, Plaintiff’s Complaint is brought under 42 U.S.C. § 1983.

      WHEREFORE, Defendants, LARRY ROBINSON, in his official

capacity as PRESIDENT, FLORIDA A&M UNIVERSITY and KELVIN

LAWSON, in his official capacity as CHAIRMAN, FLORIDA A&M

UNIVERSITY BOARD OF TRUSTEES, respectfully request that this action

be removed to this Court and that this Court accept jurisdiction of this

action, and henceforth that this action be placed on the docket of this Court

for further proceedings, the same as though this action had been originally

instituted in this Court.

      Dated this 16th day of October, 2019.

                                          Respectfully submitted,

                                          /s/ Diana K. Shumans
                                          DIANA K. SHUMANS
                                          Florida Bar No.: 675822
                                          dshumans@sniffenlaw.com

                                          SNIFFEN & SPELLMAN, P.A.
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                      CERTIFICATE OF SERVICE

       The undersigned certifies that on this 16th day of October, 2019, a
true and correct copy of the foregoing was electronically filed in the U.S.
District Court, Northern District of Florida, using the CM/ECF system which
will send a notice of electronic filing to all counsel of record.


                                        /s/ Diana K. Shumans
                                        DIANA K. SHUMANS




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